        Case 1:17-bk-12408-MB Doc 481 Filed 03/15/18 Entered 03/15/18 21:37:41                                                Desc
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                                              United States Bankruptcy Court
                                             Central District of California
In re:                                                                                                     Case No. 17-12408-MB
ICPW Liquidation Corporation, a Californ                                                                   Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0973-1                  User: admin                        Page 1 of 2                          Date Rcvd: Mar 13, 2018
                                      Form ID: pdf042                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 15, 2018.
db             +ICPW Liquidation Corporation, a California corpora,   15260 Ventura Blvd.,   20th Floor,
                 Sherman Oaks, CA 91403-5303

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 15, 2018                                             Signature: /s/Joseph Speetjens

_

                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 13, 2018 at the address(es) listed below:
              Aaron S Craig    on behalf of Interested Party    Big Time Products, LLC acraig@kslaw.com,
               lperry@kslaw.com
              Andrew T Solomon    on behalf of Special Counsel    Solomon & Cramer LLP asolomon@solomoncramer.com
              Andrew T Solomon    on behalf of Stockholder    Official Committee of Equity Security Holders
               asolomon@solomoncramer.com
              Cathrine M Castaldi    on behalf of Financial Advisor    Province Inc. ccastaldi@brownrudnick.com
              Cathrine M Castaldi    on behalf of Creditor Committee    Offical Committee of Unsecured Creditors
               ccastaldi@brownrudnick.com
              Douglas Wolfe     on behalf of Creditor    ASM Capital V, L.P. dwolfe@asmcapital.com
              Jeffrey A Krieger    on behalf of Interested Party    Brighton-Best International, Inc.
               jkrieger@ggfirm.com,
               kwoodson@greenbergglusker.com;calendar@greenbergglusker.com;jking@greenbergglusker.com
              John M Stern    on behalf of Creditor    Texas Comptroller of Public Accounts
               john.stern@oag.texas.gov, bk-mbecker@oag.texas.gov
              Krikor J Meshefejian    on behalf of Debtor    ICPW Liquidation Corporation, a California
               corporation kjm@lnbrb.com
              Krikor J Meshefejian    on behalf of Debtor    ICPW Liquidation Corporation, a Nevada corporation
               kjm@lnbrb.com
              Matthew A Gold    on behalf of Creditor    Argo Partners courts@argopartners.net
              Monica Y Kim    on behalf of Debtor    ICPW Liquidation Corporation, a California corporation
               myk@lnbrb.com, myk@ecf.inforuptcy.com
              Ron Bender     on behalf of Debtor    ICPW Liquidation Corporation, a Nevada corporation
               rb@lnbyb.com
              Ron Bender     on behalf of Attorney    Levene, Neale, Bender, Yoo & Brill LLP rb@lnbyb.com
              Ron Bender     on behalf of Debtor    ICPW Liquidation Corporation, a California corporation
               rb@lnbyb.com
              Russell Clementson     on behalf of U.S. Trustee    United States Trustee (SV)
               russell.clementson@usdoj.gov
              S Margaux Ross    on behalf of U.S. Trustee    United States Trustee (SV) margaux.ross@usdoj.gov
              Samuel R Maizel    on behalf of Stockholder    Official Committee of Equity Security Holders
               samuel.maizel@dentons.com,
               alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.ho
               ward@dentons.com
              Samuel R Maizel    on behalf of Creditor Committee    Offical Committee of Unsecured Creditors
               samuel.maizel@dentons.com,
               alicia.aguilar@dentons.com;docket.general.lit.LOS@dentons.com;tania.moyron@dentons.com;kathryn.ho
               ward@dentons.com
              Sharon Z. Weiss    on behalf of Defendant c/o Sharon Z. Weiss Radians Wareham Holding, Inc.
               sharon.weiss@bryancave.com, raul.morales@bryancave.com
              Sharon Z. Weiss    on behalf of Defendant    Safety Supply Corporation sharon.weiss@bryancave.com,
               raul.morales@bryancave.com
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                             Form ID: pdf042             Total Noticed: 1


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              Sharon Z. Weiss    on behalf of Creditor    Radians Wareham Holdings, Inc.
               sharon.weiss@bryancave.com, raul.morales@bryancave.com
              Sharon Z. Weiss    on behalf of Defendant    Radians, Inc. sharon.weiss@bryancave.com,
               raul.morales@bryancave.com
              Shiva D Beck    on behalf of Creditor William Aisenberg sbeck@gardere.com, jcharrison@gardere.com
              Shiva D Beck    on behalf of Defendant Jeffrey Cordes sbeck@gardere.com, jcharrison@gardere.com
              Shiva D Beck    on behalf of Creditor Jeffrey Cordes sbeck@gardere.com, jcharrison@gardere.com
              Shiva D Beck    on behalf of Defendant William Aisenberg sbeck@gardere.com,
               jcharrison@gardere.com
              Susan K Seflin    on behalf of Financial Advisor    Province Inc. sseflin@brutzkusgubner.com
              Tania M Moyron    on behalf of Interested Party Samuel R. Maizel tania.moyron@dentons.com,
               chris.omeara@dentons.com
              Tania M Moyron    on behalf of Plaintiff c/o Tania Moyron Official Committee of Equity Holders of
               ICPW Liquidation Corporation, a Nevada corporation tania.moyron@dentons.com,
               chris.omeara@dentons.com
              Tania M Moyron    on behalf of Trustee Matthew Pliskin tania.moyron@dentons.com,
               chris.omeara@dentons.com
              Tania M Moyron    on behalf of Stockholder    Official Committee of Equity Security Holders
               tania.moyron@dentons.com, chris.omeara@dentons.com
              Tania M Moyron    on behalf of Debtor    ICPW Liquidation Corporation, a California corporation
               tania.moyron@dentons.com, chris.omeara@dentons.com
              Thomas C Scannell    on behalf of Creditor Jeffrey Cordes tscannell@gardere.com,
               acordero@gardere.com
              Thomas C Scannell    on behalf of Creditor William Aisenberg tscannell@gardere.com,
               acordero@gardere.com
              United States Trustee (SV)    ustpregion16.wh.ecf@usdoj.gov
                                                                                              TOTAL: 36
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                                         1    Samuel R. Maizel (SBN 189301)
                                              samuel.maizel@dentons.com
                                         2    Tania M. Moyron (SBN 235736)
                                              tania.moyron@dentons.com                                                 FILED & ENTERED
                                         3    DENTONS US LLP
                                              601 South Figueroa Street, Suite 2500
                                         4    Los Angeles, California 90017-5704                                              MAR 13 2018
                                              Telephone:    (213) 623-9300
                                         5    Facsimile:    (213) 623-9924
                                                                                                                         CLERK U.S. BANKRUPTCY COURT
                                                                                                                         Central District of California
                                         6    Attorneys for Official Committee                                           BY Bever      DEPUTY CLERK
                                              of Equity Security Holders
                                         7
                                                                             UNITED STATES BANKRUPTCY COURT
                                         8                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                               SAN FERNANDO VALLEY DIVISION
                                         9
                                              In re:                                                        Case No. 1:17-bk-12408-MB
                                         10                                                                 Jointly administered with:
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                              ICPW Liquidation Corporation, a California                    Case No. 1:17-bk-12409-MB
                                         11   corporation,1
                                                                                                            Adversary Proceeding No. 1:18-ap-
         DENTONS US LLP




                                         12                   Debtor and Debtor in Possession.              01011-MB
            (213) 623-9300




                                         13   In re:                                                        Chapter 11

                                         14   ICPW Liquidation Corporation, a Nevada                        ORDER GRANTING
                                              corporation ,2                                                WITHDRAWAL OF MOTION,
                                         15                                                                 DIRECTING MEDIATION, AND
                                                              Debtor and Debtor in Possession.              OTHER RELIEF
                                         16
                                                   Affects:                                                 Status Conference and Hearing:
                                         17
                                                     Both Debtors                                           Date: February 27, 2018
                                         18                                                                 Time: 1:30 P.M.
                                                  ICPW Liquidation Corporation, a                           Ctrm: 303
                                         19   California corporation                                        21041 Burbank Blvd.
                                                                                                            Woodland Hills, CA 91367
                                         20       ICPW Liquidation Corporation, a Nevada
                                              corporation.
                                         21

                                         22

                                         23               On February 27, 2018, at 1:30 p.m., the Court held a continued hearing and status

                                         24   conference on -HIIUH\&RUGHV$QG:LOOLDP0$LVHQEHUJ¶V Motion for Relief from Automatic Stay

                                         25   Under 11 U.S.C. § 362 WKH³0RWLRQ´>'RFNHW1R@$SSHDUDQFHVZHUHPDGHDVVHWIRUWKRQ

                                         26   WKH&RXUW¶VUHFRUG

                                         27
                                              1
                                         28       Formerly known as Ironclad Performance Wear Corporation, a California corporation.
                                              2
                                                  Formerly known as Ironclad Performance Wear Corporation, a Nevada corporation.
                                                                                                       1
                                              106714724\V-1

                                              Gardere01 - 11178624v.2
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                                         1                The Court, having read and considered, -HIIUH\ &RUGHV DQG :LOOLDP 0 $LVHQEHUJ¶V

                                         2    Partial Withdrawal of Motion for Relief from the Automatic Stay Under 11 U.S.C. § 362 and

                                         3    Waiver of Arbitration WKH³3DUWLDO:LWKGUDZDO´>'RFNHW1R@WKHXQGHUO\LQJ0RWLRQDQG

                                         4    all related papers, and good cause appearing, orders as follows:

                                         5                1.      The Partial Withdrawal is granted and the Motion is deemed withdrawn;

                                         6                2.      The Debtors, the Equity Committee, and/or the trustee under the 'HEWRUV¶ DQG

                                         7                        2IILFLDO &RPPLWWHH RI (TXLW\ 6HFXULW\ +ROGHUV¶ -RLQW 3ODQ RI /LTXLGDWLRQ 'DWHG

                                         8                        February 9, 2018 [Docket No. 438], Jeffrey Cordes, William M. Aisenberg, and

                                         9                        WKHLVVXHURIWKHGLUHFWRUV¶DQGRIILFHUV¶LQVXUDQFHFRYHUDJHSROLF\4%(,QVXUDQFH

                                         10                       &RPSDQ\ WKH ³&DUULHU´ DUH KHUHE\ RUGHUHG WR HQJDJH LQ PHGLDWLRQ XQGHU WKH
601 SOUTH FIGUEROA STREET , SUITE 2500
 LOS ANGELES , CALIFORNIA 90017-5704




                                         11                       Court supervised mediation program;
         DENTONS US LLP




                                         12               3.      All parties, including the Carrier, shall be permitted to participate in the selection
            (213) 623-9300




                                         13                       of the mediator;

                                         14               4.      All discovery in Adversary Proceeding No. 1:18-ap-01011-MB is stayed pending

                                         15                       further order of the Court, but the parties may engage in voluntary discovery as

                                         16                       part of the mediation process.

                                         17               5.      All pleadings and motions in Adversary Proceeding No. 1:18-ap-01011-MB are

                                         18                       stayed, and all applicable deadlines are tolled, pending further order of the Court.

                                         19               6.      The next status conference shall be on May 31, 2018. The parties are to complete

                                         20                       mediation by that date. The parties may apply to extend the date if they are

                                         21                       actively engaged in settlement discussions.

                                         22               IT IS SO ORDERED.

                                         23   ###
                                              Date: March 13, 2018
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                                              Gardere01 - 11178624v.2
